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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

BILL AND RHONDA SPRAY,                        )
Individually and as Representatives of        )
THE ESTATE OF SINDI SPRAY,                    )
                                              )
       Plaintiffs,                            )
                                              )
v                                             )      Case No.     CIV-20-1252-R
                                              )
THE BOARD OF COUNTY                           )
COMMISSIONERS OF OKLAHOMA                     )
COUNTY, et al.                                )
                                              )
       Defendants.                            )


    DEFENDANT’S DEPOSITION DESIGNATIONS – DR. RYAN HERRINGTON

       Ryan D. Herrington, M.D. is Defendant’s medical expert. [Doc. 37]. The

parties have scheduled Dr. Herrington’s video trial deposition for August 31, 2023.

Defendant intends to play the video of Dr. Herrington’s direct examination and re-

direct, if any, to the jury and the Court, during Defendant’s case in chief. Defendant

will provide the Court with the specific pages of the Dr. Herrington’s testimony upon

receipt of the transcript from the court reporter.


                                        Respectfully Submitted,

                                        VICKI ZEMP BEHENNA
                                        DISTRICT ATTORNEY

                                        /s/ Carri A. Remillard
                                        Aaron Etherington (OBA #18259)
                                        Rodney J. Heggy (OBA # 4049)
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                                        Assistant District Attorneys


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                 CERTIFICATE OF MAILING OR DELIVERY

    The foregoing was delivered to counsel of record by the ECF system or by
US Mail, if required:

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                                                     /s/ Carri A. Remillard




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